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                         UNITED STATES BANKRUPTCY COURT
                             FOR THE STATE OF ARIZONA


   In re                                                      Chapter 12
   STEVIE L. STEELMAN, JR. and
   MARYANN STEELMAN,                                          Case No. 4:09-bk-33964-JMM

                             Debtors.




                                  CHAPTER 12 (OPERATING)
                                 PLAN OF REORGANIZATION

      The Debtors propose this Plan of Reorganization pursuant to Chapter 12 of Title 11,
    United States Code.

       Pursuant to 11 U.S.C. §1201(a), all actions are stayed against the co-debtors of Stevie
    L. Steelman, Jr. and Maryann Steelman in the Chapter 12 cases.

       In accordance with 11 U.S.C. §1222, Family Farmer Plans of Reorganization provides
    as follows:
                  “(1) provide for the submission of all or such portion of
                  future earnings or other future income of the debtor to the
                  supervision and control of the trustee as is necessary for the
                  execution of the Plan;

                   (2) provide for the full payment, in deferred cash payments,
                   of all claims entitled to priority under section 507 unless-

                          (A) the claim is a claim owed to a
                          governmental unit that arises as a result of
                          the sale, transfer, exchange or other



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                           disposition of any farm asset used in the
                           debtor’s farming operation, in which case
                           the claim shall be treated as an unsecured
                           claim that is not entitled to priority under
                           section 507, bu the debt shall be treated in
                           such manner only if the debtor receives a
                           discharge; or

                           (B) the holder of a particular claim agrees to
                           a different treatment of that claim;

                   (3) if the plan classifies claims and interests, provide the
                   same treatment for each claim or interest within a particular
                   class unless the holder of a particular claim or interest
                   agrees to a less favorable treatment; and

                   (4) notwithstanding any other provision of this section, a
                   plan may provide for less than full payment of all amounts
                   owed for a claim entitled to priority under section
                   507(a)(1)(B) only if the plan provides that all of the
                   debtor’s projected disposable income for a 5-year period
                   beginning on the date that the first payment is due under
                   the plan will be applied to make payments under the plan.”



                                            DEFINITIONS

       In this plan the following terms have these meanings:
       1. "Confirmation" shall mean the entry by this Court of an Order confirming this Plan
    in accordance with Chapter 12;

       2. "Effective Date" shall mean that date on which the Order confirming the Plan
    becomes final and nonappealable.

       3. "Interest" shall mean simple interest calculated on a 365 day year. Interest shall run
    from the date of confirmation, accrued to date of debtors' first plan payments, and then
    added to the principal of the claim to be paid under the plan.



                                             ARTICLE I
                              Classification of Claims and Interests.

      Pursuant to U.S.C. §1222(a), the Plan divides the holders of claims into these classes:




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       1.1 Class One: Administrative expenses as the same shall be allowed and approved by
    the Court, including fees of Debtors' counsel.

           A.        Robert M. Cook, Attorney for Debtors was paid in full pre-petition.

           B.        The Trustee shall be paid 5% of Plan payments.

           C.      The IRS will be paid within 5 years. The IRS has filed a Proof of Claim
    against Debtors Stevie L. Steelman, Jr. and Maryann Steelman in the amount if
    $13,766.74 in which $9,038.43 is priority and $4,728.31 is unsecured.

      1.2 Class Two: Secured Claims are compromised of:

                1.   The portion of the claim that real estate secures:

                   A.      Aurora Loan Services shall retain its security interest in Stevie L.
           Steelman, Jr. and Maryann Steelman’s residence located at 1863 N. Westfall
           Lane, Casa Grande, AZ 85122 and shall be paid $118,000.00 over 30 years at 5%
           fixed interest. The value of the property is supported by an appraisal. Aurora
           Loan Services shall be paid direct to the Creditor outside of the Plan.

                   B.     Aurora Loan Services shall release its second lien security interest
           in Stevie L. Steelman, Jr. and Maryann Steelman’s residence located at 1863 N.
           Westfall Lane, Casa Grande, AZ 85122 and shall be paid nothing under this Plan
           as the property value makes this lien unsecured. The value of the property is
           supported by an appraisal.

                2.   The portion of the claim that personal property secures:

                  A.    Bank of America shall be paid nothing under this Plan as the
           Debtors have surrendered the 2007 Ford Edge vehicle back to the Secured
           Creditor.

                   B.       New England Financial shall continue to be paid according to the
           repayment terms and contract set in place by New England Life Insurance for the
           Life Insurance Policy Loan. New England Life Insurance shall be paid nothing
           under this Plan.

                   C.     Pinal County Federal Credit Union shall retain its security interest
           in the 2000 Ford F350 and be paid $5,000.00 over 5 years at 5% fixed interest.

                     D. Yamaha/HSBC Retail Services shall retain its security interst in
           the 2008 Yamaha Rhino ATV and be paid $5,000.00 over 5 years at 5% fixed
           interest.

                3.   The portion of the claim that farm personal property secures:




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                 A. Debtor may have contingent claims, that to the Debtor are unsecured
         claims. All Secured and Unsecured Creditors of the Debtor’s farming entities
         have been treated in their subject Confirmed Chapter 12 Plan. (ie. John Deere &
         Co., AgriCredit, Naeda Finance Ltd., TCF Equipment Finance , Trimble Financial
         Services, Chase, etc.) Any unsecured amounts shall be paid in the unsecured
         claims category. Debtor agrees to the terms and conditions of their entities’
         Confirmed Chapter 12 Plans. They shall be bound by the Order Confirming and
         they are in financial support of the Plan.

           1.3 Class Three: Unsecured claims.

                  A. Unsecured Claims shall be paid 2% of their said claim over the life of
         the Plan. Any Contingent Claims of the Debtors owed by their entities Custom
         Tillage, LLC, S & S Farms Partnership and Steelman Enterprises, LLC have been
         satisfied in the Confirmed Chapter 12 Plan for those Debtors. Below are the
         individual Debtors Unsecured Claims.


                        AT&T                          $ 4,000.00
                        AZ Corridor Emergency         $ 675.00
                        Bank of America               $ 4,700.00
                        Costco/HSBC Retail Svcs       $ 2,000.00
                        Internal Revenue Service     $ 4,728.31
                        Wells Fargo                   $ 5,046.33
                        TOTAL                         $21,149.64



                                            ARTICLE II
                                       Treatment of Claims.

            2.1 Class One: The Class One claim will be paid in full prior to payments on
         Class Three claims. The payment provided for Class Three claims will be devoted
         to payment of the Class One claims until those claims are paid in full; thereafter
         the payment will be devoted to payment of the Class Three claims.

            2.2 Classes Two and Three: Claims in these classes will be paid pursuant to the
         terms set forth in the debt service table below, as modified by the paragraph
         immediately before this paragraph.

                 A. Trustee payments will be each month commencing May 1, 2011 as it is
         anticipated that the Chapter 12 Plan will be confirmed by that time. The life of the
         Plan will be 60 months and unless noted different in the creditors treatment, there
         shall be 60 total payments.




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           DEBT SERVICE TABLE,                 May 1, 2011 through plan end (monthly)

           Class                        Claim           Amort.        Interest    Monthly
                                                        Period         Rate       Payment
           1:Administrative
                IRS                       $ 9,038.43       5            0.00%     $ 150.64

           2.a. Bank (R.E.)
               Pinal County Fed C.U. $ 5,000.00            5           5%         $     94.36
               Yamaha/HSBC            $ 5,000.00           5           5%         $     94.36

           3. Unsecured (2%)         $     422.99          5                      $      7.05
              (Total Unsecured $21,149.64)
                                                                  Trustee (5%) $ 17.32
                                                                      Subtotal: $ 363.73



                                           ARTICLE III
                                       Means for Execution.

       3.1 The Debtors shall pay to the standing trustee monthly, the sum set by the office of
    the United States Trustee as the standing trustee's fee arising by virtue of payments on
    claims, commencing May 1, 2011.

            A. From May 1, 2011, for a period of 60 months, the payment shall be total
    amount shown in the Debt Service Table above, adjusted for differences in the amounts
    of approved claims.

       3.2 Regardless of any other provision of the Plan, the standing trustee shall make
    payments only to creditors holding timely filed and allowed claims.

       3.3 Confirmation of this plan constitutes authorization to the Farm Service
    Administration to provide full FSA services to the Debtors consistent with the terms of
    this plan and constitutes limited relief from the stay of 11 U.S.C. §362 for that purpose.

       3.4 After confirmation of the plan, all checks jointly payable to the Debtors and any
    creditor shall be endorsed by the creditor for the Debtors' use, provided that the Debtors
    are in full compliance with the requirements of this plan, the Bankruptcy Code, and the
    rules of the Bankruptcy Court.

      3.5 Post-Confirmation Status of Liens:

            A.     The Class Two creditors shall retain their liens following confirmation.
    Debtors shall comply with insurance and financial reporting requirements contained in
    pre-petition agreements with secured lenders.




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       3.6 All post-confirmation payments made under the Plan will be made to the standing
    trustee in the form of check or money order showing the bankruptcy case number.
    Payment to the standing trustee shall constitute payment to creditors for the purpose of
    calculating any interest charge.

        3.7 Debtors shall provide the standing trustee: (1) quarterly cash flow statements and
    annual financial statements within 30 days after the end of each plan Quarter: (2) annual
    financial statements within 30 days after the end of each plan year: (3) a copy of timely
    filed federal income tax returns at the time of filing such returns: (4) upon demand, any
    other records which should be kept in the ordinary course of Debtors' business. The
    Trustee shall have the right at any time to require the Debtors to retain the services of a
    professional farm records specialist for the purpose of making the Debtors' required
    reports more accurate.

       3.8 Amounts specified elsewhere in this plan to be paid on claims notwithstanding,
    any payment on a claim or class of claims shall be adjusted to amortize such claim (or the
    total claims in the class) over the period specified with the indicated interest, once the
    amount of the claim has been determined and allowed by the court. Debtors shall
    forthwith notify the standing trustee of any change in such payments.

      3.9 Claims not filed before the bar date established in the Court's Notice of
    Chapter 12 Bankruptcy Case shall be barred.

       3.10 The Order of Confirmation herein will constitute authorization to the Debtors to
    borrow funds in the ordinary course of business for the conduct of their farming
    operations, including planting, propagating and harvesting crops, and granting security to
    lenders as required for that purpose.

       3.11 Executory Contracts: Debtors hereby assume all executory contracts not
    specifically rejected in this plan. Debtors hold no personal leases in this case but Debtors
    agree to the Lease terms for the related entities Custom Tillage & Spray, LLC, S & S
    Farms Partnership and Steelman Enterprises, LLC that have been confirmed in their
    Chapter 12 Plans.


                                           ARTICLE IV
                                   Feasibility and Liquidation

       4.1 The Debtors will be able to make all payments and comply with all provisions of
    the plan based upon the availability to the Debtors of the income and property proposed
    to be used under the plan. The Debtors have no reason to believe that any income
    described herein, or any asset described herein, will not be available to the Debtors.

           A. Debtors continue to farm under their entities (Custom Tillage & Spray, LLC, S
    & S Farms Partnership and Steelman Enterprises, LLC) that have a confirmed Joint
    Chapter 12 Plan.




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       4.2 Liquidation of the Debtors' enterprise would probably result in full payment to all
    creditors. Debtors project the income and expense set forth in the Direct Loan Assistance
    application to obtain FSA financing that was filed with the Court under the entity
    (Steelman Enterprises, LLC, Case No. 4:09-bk-33960-JMM, Docket No. 122). The
    anticipated income grows each year with the value of crops going up.


                                             ARTICLE V
                                              General

       5.1 This plan complies with the provisions of Chapter 12 and all other applicable
    provisions of Title 11 of the United States Code, and is proposed in good faith and not by
    any means forbidden by law.

      5.2 The Trustee shall deduct, from payments received, the fee set by the United States
    Trustee's Office.

       5.3 Confirmation of the Plan shall vest in the Trustee the right, without regard to prior
    proceedings prosecuted or defended by Debtors, to (1) object to claims, and (2) continue
    or bring actions under 11 U.S.C. §§544, 545, 547, 548 or 553. Payments provided herein
    for claims which are not allowed or are disallowed, and any avoidance recovery, shall be
    distributed to holders of priority and unsecured claims as provided under this plan.


                                           ARTICLE VI
                                         Duration of Plan.

      6.1 This plan shall terminate on April 1, 2016, except as to claims for which this plan
    makes provision for payments due after that date.


                                           ARTICLE VII
                                     Jurisdiction of the Court.

       7.1 The Court will retain jurisdiction until this plan has been fully consummated,
    including jurisdiction for the following purposes:

            A.     Determination of all questions and disputes regarding title to the assets of
    the estate, and determination of all causes of action, controversies, disputes, or conflicts,
    whether or not subject to action pending as of the date of confirmation, between the
    Debtors and any other party.

            B.      The correction of any defect, curing of any omission, or reconciliation of
    any inconsistency in this plan, or the order of confirmation as may be necessary to carry
    out the purposes and intent of this plan.




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            C.      The modification of this plan after confirmation.

            D.      To enforce and interpret the terms and conditions of this plan.

           E.     Entry of any order necessary to enforce the title, rights and powers of the
    Debtors, and to impose such limitations, restrictions, terms and conditions as this Court
    may deem necessary.

    RESPECTFULLY SUBMITTED this 18th day of March, 2011.

                                          THE LAW OFFICES OF ROBERT M. COOK, PLLC

                                          By: /s/ Robert M. Cook
                                                  Robert M. Cook, Esq.
                                                  Attorney for Debtors




    Approved by:
    /s/ Stevie L. Steelman, Jr
    /s/ Maryann Steelman




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